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                    UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW HAMPSHIRE



United States of America

     v.                                      Case No. 11-cr-156-PB


Alyssa Phillips, et al.

                               O R D E R


     Defendant Joshua Hensley has moved through counsel to

continue the April 3, 2012 in the above case, citing the need

for additional time to finalize plea negotiations.           The

government and co-defendant Alyssa Phillips do not object to a

continuance of the trial date.

     Accordingly, in order to allow the parties additional time

to properly prepare for trial, the court will continue the trial

from April 3, 2012 to June 5, 2012. In agreeing to continue the

trial, the court finds pursuant to 18 U.S.C.A. ' 3161(h)(7)(A)

that for the above-stated reasons, the ends of justice served in

granting a continuance outweigh the best interests of the public

and the defendants in a speedy trial.
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      The March 26, 2012 final pretrial conference is continued

to May 22, 2012 at 11:30 a.m.

      SO ORDERED.



                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge
March 21, 2012

cc:   Robert S. Carey, Esq.
      Matthew Lahey, Esq.
      Harry Batchelder, Esq.
      Jennifer Davis, AUSA
      United States Marshal
      United States Probation




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